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                                          UNITED STATES DISTRICT COURT, DISTRICT OF NEW MEXICO
                                                       SENTENCING MINUTE SHEET
    CR No.      09-3601-MV                                  USA vs.    Phillips
     Date:      2/16/12                                Name of Deft:   Nicholous Phillips
                    Before the Honorable      Martha Vázquez

        Time In/Out:       1:51 p.m../2:55 p.m.                          Total Time in Court (for JS10):      1 hour, 4 minutes
               Clerk:      Linda Romero                                                 Court Reporter:       Susan Sperry
               AUSA:       Norman Cairns                                          Defendant’s Counsel:        Tom Jameson
     Sentencing in:        Santa Fe, NM                                                      Interpreter:     None
Probation Officer:         Virvian Yazzie                                                        Sworn?                Yes                     No
     Convicted on:          X     Plea                  Verdict                                      As to:            Information        X    Indictment

                If Plea:    X     Accepted              Not Accepted    Adjudged/Found Guilty on Counts:      Count 1
    If Plea Agreement:      X     Accepted              Not Accepted           No Plea Agreement              Comments:

 Date of Plea/Verdict:     4/26/11                                                                  PSR:               Not Disputed       X    Disputed

        PSR:        X      Court Adopts PSR Findings                                   Evidentiary Hearing:       X    Not Needed              Needed

 Exceptions to PSR:        Court grants defendant’s objections to the determination in PSR that he is subject to the Armed Career
                           Criminal Act and orders the relevant paragraph be revised to reflect that neither the sentencing
                           enhancement nor the mandatory minimum under the ACCA applies to the defendant.

         SENTENCE IMPOSED                               Imprisonment (BOP):         60 months

  Supervised Release:       2 years                                    Probation:                                            X       500-Hour Drug Program

                                                        SPECIAL CONDITIONS OF SUPERVISION
         No re-entry without legal authorization                                      Home confinement for _____ months _____ days
         Comply with ICE laws and regulations                                         Community service for _____ months _____ days
         ICE to begin removal immediately or during sentence                          Reside halfway house _____ months _____ days
X        Participate in substance abuse program/drug testing                          Register as sex offender
X        Participate in mental health program                                         Participate in sex offender treatment program
X        No alcohol/liquor establishments                                             Possess no sexual material
X        Submit to search of person/property                                          No computer with access to online services
         No contact with victim(s) and/or co-Deft(s)                                  No contact with children under 18 years
         No entering, or loitering near, victim’s residence                           No volunteering where children supervised
         Provide financial information                                                Restricted from occupation with access to children
         Grant limited waiver of confidentiality                                      No loitering within 100 feet of school yards
         OTHER:

Fine:      $    0                                                                        Restitution: $       0

SPA:       $    100                       ($100 as to each Count)                   Payment Schedule:         X       Due Imm.                  Waived

OTHER:          Defendant forfeits his rights, title and interest in the following assets and properties: Kahr Arms, Model K9 9mm
                pistol, serial number obliterated, and seven (7) rounds of Winchester ammunition.

X        Advised of Right to Appeal                    Waived Appeal Rights per Plea Agreement

X        Held in Custody                               Voluntary Surrender

X        Recommended place(s) of incarceration:               A Federal Medical Center. Alternatively, FCI Tucson or FCI Phoenix. Court
                                                              also recommends that the defendant attend a BOP mental health treatment
                                                              program.

X        Dismissed Counts:            Government filed Motion and Court signs Order approving dismissal of Count 2 of the Indictment.
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    OTHER COMMENTS        Court addresses defendant. Defendant introduces family members present. Defense counsel
                          addresses Court. Defendant addresses Court. Court orders that Dr. Rapaport’s report be attached to
                          the PSR. Court imposes sentence. Court grants defendant’s objections to the determination in PSR
                          that he is subject to the Armed Career Criminal Act and orders the relevant paragraph be revised to
                          reflect that neither the sentencing enhancement nor the mandatory minimum under the ACCA applies
                          to the defendant. Court overrules defendant’s objections in the PSR that he is subject to an enhanced
                          base offense level because his prior convictions for aggravated assault and aggravated battery are
                          crimes of violence.




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